       CASE 0:19-cr-00295-PJS-TNL Document 1 Filed 11/14/19 Page 1 of 3




                          UNITE,D STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

LINITED STATES OF AMERICA.                       )        INDICTMENT

                                                                       e%q-eqffushtlL
                     Plaintiff,
                                                          18 U.S.C. $ e22(g)
      V.                                                  18 U.S.C. $ 924(a)
                                                          18 U.S.C. $ e24(dx1)
JULIA RENE AYERS,                                         28 U.S.C. S 246r

                     Defendant.

      THE I.INITED STATES GRAND JURY CHARGES THAT:

                                        COUNT     1
                             (Felon in Possession of Firearms)

      On or about September 25, 2019, in the State and District of Minnesota, the

defendant,

                                  JULIA RENE AYERS.

having been previously convicted of the following crimes, each of which was punishable

by imprisonment for a term exceeding one year, that is,


             Crime                    Court of Conviction           Year of Conviction
  Possession With Intent To        U.S. District Court, Dist.              2015
  Distribute Methamphetamine       of Minnesota
  Fifth Degree Possession of       Steele Countv. Minn.                    2012
  Controlled Substances
  First Degree Sale of             Steele Countv. Minn.                    2008
  Controlled Substances
  Issue Dishonored Check           Steele Countv. Minn.                    2004



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        CASE 0:19-cr-00295-PJS-TNL Document 1 Filed 11/14/19 Page 2 of 3




                  Crime                 Court of Conviction            Yeai of Conviction
    Theft                             Steele County, Minn.                   2002

and knowing she had been convicted of at least one crime punishable by imprisonment for

a term exceeding one year, knowingly possessed, in and affecting inteistate commerce, a

firearm, namely:

        a.   a   Colt 5.56 x 45 mm M4 rifle, serial number LE491790;

        b.   a   Colt 5.56 x 45 mm M4 rifle, serial number L8439941; and

        q.   a Ruger Super   Blackhawk .44 caliber revolver, serial number 81-34610

all in violation of 18 U.S.C. $$ 922(gX1) and 92a@).

                                FORFEITURE ALLEGATIONS

        Count 1 of this Indictment is incorporated by reference for the purpose of alleging

forfeitures pursuant to Title 18, United States Code, Section g24(d)(I),and Title 28, United

States Code, Section 2461(c).

        If convicted of Count 1 of this Indictment, the defendant,

                                    JULIA RENE AYERS.

shall forfeit to the United States, pursuant     to   18 U.S.C. $ 924(dX1) and 28 U.S.C.

$   2461(c), any firearm with accessories and ammunition involved         in or used in   any

knowing violation of 18 U.S.C. $$ 922(9)(1) and 924(a)(2), including but not limited to

multiple items seized on September 25,2019, namely:
       CASE 0:19-cr-00295-PJS-TNL Document 1 Filed 11/14/19 Page 3 of 3




      a.    a Colt 5.56 x 45 mm M4    rifle, serial number LE491790;

      b.    a   Colt 5.56 x 45 mm M4 rifle, serial number LE439941;

      c. a Ruger Super Blackhawk .44 caliber revolver, serial number 8l-34610;
      d.    a holster seized during the seizure of the Ruger Super Blackhawk .44 caliber

            revolver, serial number 81-34610, as described above, and

      e. two (2) boxes of .44 caliber ammunition.
      If   any of the above-described forfeitable properfy is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for at 2I

U.S.C. $ 853(p) as incorporated by 28 U.S.C. $ 2a61(c).



                                       A TRUE BILL




UNITED STATES ATTORNEY                            FOREPERSON
